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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


JANE DOE, et al.,


                 Plaintiffs,

       v.                                  Civil Docket No. 1:25-cv-286

PAMELA BONDI, in her official
capacity as Attorney General of the
United States, et al.,

                 Defendants.


                               NOTICE OF APPEAL

      Defendants hereby appeal to the United States Court of Appeals for the

District of Columbia Circuit from the Court’s Order granting Plaintiffs’ February 3,

2025, (publicly filed) Motion for Emergency Temporary Restraining Order and

Preliminary Injunction (ECF No. 44), the Court’s Order granting Plaintiffs’ February

21, 2025, Motion for a Temporary Restraining Order and Expanded Preliminry

Injunction (ECF No. 55), and the Court’s Order granting Plaintiffs’ Motion to Convert

Pending Motion for Further Temporary Restraining Order to Motion for Further

Preliminary Injunction or Temporary Restraining Order (ECF No. 68).

Dated: April 2, 2025                   Respectfully submitted,

                                       YAAKOV M. ROTH
                                       Acting Assistant Attorney General

                                       ALEX HAAS
                                       Director, Federal Programs Branch

                                       JEAN LIN
                                       Special Litigation Counsel

                                       /s/ Elizabeth B. Layendecker
                                       ELIZABETH B. LAYENDECKER
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